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                      EXHIBIT 16
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                                                                                        Data sheet
                                                                                       Cisco public




             Cisco Webex Meetings Audio
               PSTN Coverage for Cisco
                Collaboration Flex Plan




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Product overview
Cisco Webex® Meetings Audio provides the broadest global Public Switched Telephone Network (PSTN) dial-
in and call-me services to attendees in Cisco Webex Meetings, Events, Trainings, and Teams.

The audio options available with Cisco Webex products promote efficient discussions among participants by
providing a fully integrated experience. As a cloud-based PSTN audio option, Cisco Webex Meetings Audio
provides a broad coverage footprint with toll dial-in, toll-free dial-in, and call-me capabilities for local and
global connections. It operates on a wide variety of devices, including cell phones, IP phones, and softphones,
and supports the ability to enable telephony attendees as well as attendees and devices that use Voice over IP
(VoIP) to all collaborate in the same session.




To maximize the power of Webex within your own datacenter please explore Cisco Webex Edge Services to
further improve audio quality and optimize PSTN audio costs.


Cost-effective conferencing solution with audio
Cisco Webex offers a flexible, high-performance platform of products for organizations of any size that want to
deploy online meetings with audio conferencing. Cisco Webex Meetings Audio is designed to attach to a Cisco
Webex meeting product purchased from Cisco; it is not available as standalone product. Cisco includes
unlimited 56 Toll Dial-in country coverage and VOIP audio as part of the Cisco Collaboration Flex Plan for
Webex meeting products at no additional cost.

Table 1 outlines the features and benefits of Cisco Webex Meetings Audio.

Table 1.        Features and benefits

 Feature                                    Benefit

 Global access                                ● 66-country access for toll call-in

                                              ● 85-country access for toll-free call-In

                                              ● 202-country access for call-me

                                              ● VoIP available where regulators allow


 Scalability                                Total audio capacities are 1000 total participants in a single meeting: up to 1000 on
                                            phones and up to 1000 on VoIP.

 Conference management                      The solution offers powerful conference control for management of active conferences,
                                            allowing moderators to:
                                              ● Use the active talker indicator for positive identification of the speaker

                                              ● Add or drop participants in a conference

                                              ● Mute audio from a selected participant

                                              ● Use the conference lock feature

                                              ● Terminate a conference




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 Feature                                    Benefit

 Audio on entry and exit                      ● Optionally announce name, play beep, or allow silent entry and exit

                                              ● Optionally mute participants on entry


 Compatibility                                ● Works with all Cisco Webex services

                                              ● Supports mobility clients

                                              ● Supports Network-Based Recording (NBR) and tracking codes


 Support for phone-only                     As controlled by Cisco Webex site policies, users may choose to start or join meetings
 users                                      from the phone, with or without starting a Cisco Webex client application.



Important information regarding audio services
Integrated VoIP: Customers with billing addresses in the following countries will not be provisioned with Cisco
Webex VoIP capabilities: India, Algeria, Kuwait, Lebanon, and Yemen. We advise that VoIP should not be used
by users from within these countries. However, Cisco Webex is not aware of the location of each user, and
hence Cisco Webex does not (cannot) specifically prevent VoIP from working based on location.

Country coverage: Due to rapidly changing and unpredictable global telecommunications laws and regulations,
availability of certain Cisco Webex Meetings Audio services and related offerings may become restricted.

While Cisco Webex routinely monitors applicable telecommunications law and regulations in an attempt to
readily adapt to changing legal environments, Cisco Webex reserves the right to modify its Country Coverage
Listing for all affected Cisco Webex Meetings Audio offerings, without notice, as necessary to meet all country
legal requirements.

Currently, the Cisco Webex Meetings Audio services may be affected under these circumstances are:

    ●    59 Toll Dial-in coverage included in the meeting offer
    ●    Committed Monthly Spend Audio Offer
         ◦ Bridge country toll-free call-in rates
         ◦ Bridge country call back (call me) rates
         ◦ Global toll-free call-in rates
         ◦ Global premium toll call-in rates
         ◦ Global callback/call-me rates
    ●    Uncommitted (Pay-as-you-go) Audio Offer
         ◦ Bridge country toll-free call-in rates
         ◦ Bridge country call back (call me) rates
         ◦ Global toll-free call-in rates
         ◦ Global premium toll call-in rates
         ◦ Global callback/call-me rates
    ●    Flat Rate Audio Offer
         ◦ Bridge country (US, UK or Singapore) unlimited call back
         ◦ Australia unlimited call back
         ◦ Global unlimited call back
    ●    Integrated VoIP


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Bridge country audio is defined based on the customer’s provisioned Cisco Webex site locale, which is
normally based on the customer’s billing address and timezone. There are three Cisco Webex Meetings Audio
bridge countries: United States, United Kingdom, and Singapore. Cisco Webex Meetings Audio services are
provided and billed at the bridge country rates for each of these countries as follows:

    ●    United States: For customers that are provisioned in the United States, bridge country services and rates
         apply to U.S. toll-free dial-in and to the United States and Canada for callback.
    ●    United Kingdom: For customers that are provisioned in the United Kingdom, bridge country services and
         rates apply to U.K. toll-free dial-in and to the U.K. for callback.
    ●    Singapore: For customers that are provisioned in Singapore, bridge country services and rates apply to
         Singapore toll-free dial-in, to U.S. toll-free dial-in, and to Singapore for callback.

Flat Rate Bridge Country Call Back audio services that are marked with a hash (#) denote that callback coverage
is available only for the provisioned bridge country, which is ONE of the following: the United States and
Canada, or the United Kingdom, or Singapore.

Table 2.        Country coverage for Webex Meetings PSTN Audio. (Algeria Call back is missing in below list)

                                            Included in          Flat Rate Audio Offers            Uncommitted - Committed
                                              Meeting                                                (usage) Audio Offers

               Country                      Toll Dial-In Bridge Country   Australia    Global     Premium   Call Back Toll Free
                                                            Call Back     Call Back   Call Back     Toll

 Afghanistan                                                                                                   X

 Albania                                                                                  X                    X

 American Samoa                                                                                                X

 Andorra                                                                                                       X

 Angola                                                                                                        X

 Anguilla                                                                                                      X

                                                                                                               X
 Antigua (including Barbuda)


 Argentina                                        X                                       X                    X           X

 Armenia                                                                                                       X

 Aruba                                                                                                         X

 Australia                                        X                          X            X                    X           X

 Austria                                          X                                       X                    X           X

 Azerbaijan                                                                                                    X

 Bahamas                                                                                                       X           X

 Bahrain                                                                                                       X           X



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                                            Included in            Flat Rate Audio Offers            Uncommitted - Committed
                                              Meeting                                                  (usage) Audio Offers

               Country                      Toll Dial-In Bridge Country    Australia     Global     Premium   Call Back Toll Free
                                                            Call Back      Call Back    Call Back     Toll

 Bangladesh                                                                                 X                    X

 Barbados                                                                                                        X

 Belarus                                                                                                         X           X

 Belgium                                          X                                         X                    X           X

 Belize                                                                                                          X           X

 Benin                                                                                                           X

 Bermuda                                                                                    X                    X

 Bhutan                                                                                                          X

 Bolivia                                                                                                         X

 BOSNIA AND                                                                                                      X
 HERZEGOVINA

 Botswana                                                                                                        X           X

 Brazil                                           X                                         X                    X           X

 British Virgin Islands                                                                     X                    X

 Brunei                                                                                                          X           X

 Bulgaria                                         X                                                              X           X

 Burkina Faso                                                                                                    X

 Burundi                                                                                                         X

 Cambodia                                                                                                        X

 Cameroon                                                                                                        X

 Canada                                           X           X#                            X                    X           X

 Cape Verde Islands                                                                                              X

 Cayman Islands                                                                                                  X

 Central African Republic                                                                                        X


 CHAD                                                                                                            X

 Chile                                            X                                         X                    X           X

 China                                                                                      X         X          X           X

 Colombia                                         X                                         X                    X           X


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                                            Included in          Flat Rate Audio Offers            Uncommitted - Committed
                                              Meeting                                                (usage) Audio Offers

               Country                      Toll Dial-In Bridge Country   Australia    Global     Premium   Call Back Toll Free
                                                            Call Back     Call Back   Call Back     Toll

 Comoros                                                                                                       X

 Congo, Democratic                                                                                             X
 Republic of the Congo

 Congo, Republic of                                                                                            X
 the Congo

 Costa Rica                                       X                                       X                    X           X

 Croatia                                          X                                       X                    X           X

 Cyprus                                           X                                       X                    X           X

 Czech Republic                                   X                                       X                    X           X

 Denmark                                          X                                       X                    X           X

 Djibouti                                                                                                      X

 Dominica                                                                                                      X

 Dominican Republic                               X                                       X                    X           X

 Ecuador                                                                                                       X           X

 Egypt                                                                                                         X           X

 El Salvador                                      X                                                            X

 Equatorial Guinea                                                                                             X

 Eritrea                                                                                                       X

 Estonia                                          X                                       X                    X           X

 Ethiopia                                                                                                      X

 Faroe Islands                                                                                                 X

 FIJI                                                                                                          X

 Finland                                          X                                       X                    X           X

 France                                           X                                       X                    X           X

French Depts. (Indian                                                                                          X
Ocean)

 French Guiana                                                                                                 X

 French Polynesia                                                                                              X

 Gabon                                                                                                         X



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                                            Included in          Flat Rate Audio Offers            Uncommitted - Committed
                                              Meeting                                                (usage) Audio Offers

               Country                      Toll Dial-In Bridge Country   Australia    Global     Premium   Call Back Toll Free
                                                            Call Back     Call Back   Call Back     Toll

 Gambia                                                                                                        X

 Georgia                                          X                                       X                    X

 Germany                                          X                                       X                    X           X

 Ghana                                                                                                         X

 Gibraltar                                                                                                     X

 Greece                                           X                                       X                    X           X

 Grenada                                                                                                       X

 Guadeloupe                                                                                                    X

 Guatemala                                                                                                     X

 Guinea                                                                                                        X

 Guinea-Bissau                                                                                                 X

 Guyana                                                                                                        X

 Haiti                                                                                                         X

 Honduras                                                                                                      X           X

 Hong Kong                                        X                                       X                    X           X

 Hungary                                          X                                       X                    X           X

 Iceland                                                                                  X                    X           X

 India                                            X                                       X                    X           X

 Indonesia                                                                                X         X          X           X

 Iran                                                                                                          X

 Iraq                                                                                     X                    X

 Ireland                                          X                                       X                    X           X

 Israel                                           X                                       X                    X           X

 Italy                                            X                                       X                    X           X

 Ivory Coast                                                                                                   X

 Jamaica                                                                                                       X

 Japan                                            X                                       X                    X           X

 Jordan                                                                                   X                    X           X



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                                            Included in          Flat Rate Audio Offers            Uncommitted - Committed
                                              Meeting                                                (usage) Audio Offers

               Country                      Toll Dial-In Bridge Country   Australia    Global     Premium   Call Back Toll Free
                                                            Call Back     Call Back   Call Back     Toll

 Kazakhstan                                                                               X                    X

 Kenya                                                                                              X          X           X

 Kuwait                                                                                                        X

 Kyrgyzstan                                                                                                    X

 Laos                                                                                                          X

 Latvia                                           X                                       X                    X           X

 Lesotho                                                                                                       X

 Liberia                                                                                                       X

 Libya                                                                                                         X

 Liechtenstein                                                                                                 X

 Lithuania                                        X                                       X                    X           X

 Luxembourg                                       X                                       X                    X           X

 Macao                                                                                                         X

 Macedonia                                                                                                     X

 Malawi                                                                                                        X

 Malaysia                                         X                                       X                    X           X

 Maldives                                                                                                      X

 Mali                                                                                                          X

 Malta                                            X                                                            X           X

 Marshall Islands                                                                                              X

 Mauritania                                                                                                    X

 Mauritius                                                                                                     X

 Mayotte Island                                                                                                X

 Mexico                                           X                                       X                    X           X

 Micronesia                                                                                                    X

 Moldova                                                                                  X                    X           X

 Monaco                                                                                                        X           X

 Mongolia                                                                                                      X



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                                            Included in          Flat Rate Audio Offers            Uncommitted - Committed
                                              Meeting                                                (usage) Audio Offers

               Country                      Toll Dial-In Bridge Country   Australia    Global     Premium   Call Back Toll Free
                                                            Call Back     Call Back   Call Back     Toll

 Montserrat                                                                                                    X

 Morocco                                                                                                       X

 Mozambique                                                                                                    X

 Myanmar                                                                                                       X

 Namibia                                                                                                       X

                                                                                                               X
 Nepal

 Netherlands                                      X                                       X                    X           X

 Netherlands Antilles                                                                                          X

 New Caledonia                                                                                                 X

 New Zealand                                      X                                       X                    X           X

 Nicaragua                                                                                                     X

 Niger                                                                                                         X

 Nigeria                                                                                                       X

 Norfolk Island                                                                                                X

 Northern Mariana Islands                                                                                      X


 Norway                                           X                                       X                    X           X

 Oman                                                                                                          X           X

 Pakistan                                                                                 X         X          X

 Palau                                                                                                         X

 Panama                                           X                                       X                    X           X

 Papua New Guinea                                                                                              X

 Paraguay                                                                                 X                    X           X

 Peru                                             X                                       X                    X           X

Philippines                                                                                         X          X           X

 Poland                                           X                                       X                    X           X

 Portugal                                         X                                       X                    X           X

 Puerto Rico                                      X                                                            X           X



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                                            Included in            Flat Rate Audio Offers            Uncommitted - Committed
                                              Meeting                                                  (usage) Audio Offers

               Country                      Toll Dial-In Bridge Country    Australia     Global     Premium   Call Back Toll Free
                                                            Call Back      Call Back    Call Back     Toll

 Qatar                                                                                                           X           X

 Romania                                          X                                         X                    X           X

 Russia                                           X                                         X                    X           X

 Rwanda                                                                                                          X

 San Marino                                                                                                      X

 Saudi Arabia                                                                                                    X           X

 Senegal                                                                                                         X

 Serbia                                                                                                          X           X

 Seychelles Islands                                                                                              X

 Singapore                                        X           X#                            X                    X           X

 Slovakia                                         X                                         X                    X           X

 Slovenia                                         X                                         X                    X           X

 South Africa                                     X                                         X                    X           X

 South Korea                                      X                                         X                    X           X

 Spain                                            X                                         X                    X           X

 Sri Lanka                                                                                            X          X

 St. Kitts and Nevis                                                                                             X

 St. Lucia                                                                                                       X

 St. Pierre and Miquelon                                                                                         X

 St. Vincent                                                                                                     X

 Sudan                                                                                                           X

 Suriname                                                                                                        X

 Swaziland                                                                                                       X

 Sweden                                           X                                         X                    X           X

 Switzerland                                      X                                         X                    X           X

 Syria                                                                                                           X

 Taiwan                                           X                                         X                    X           X

 Tajikistan                                                                                                      X


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                                            Included in            Flat Rate Audio Offers            Uncommitted - Committed
                                              Meeting                                                  (usage) Audio Offers

               Country                      Toll Dial-In Bridge Country    Australia     Global     Premium   Call Back Toll Free
                                                            Call Back      Call Back    Call Back     Toll

 Tanzania                                                                                                        X

 Thailand                                         X                                         X                    X           X

 Trinidad and Tobago                                                                                             X           X

 Tunisia                                                                                                         X

 Turkey                                           X                                         X                    X           X

 Turkmenistan                                                                                                    X

 Turks and Caicos                                                                                                X           X

 Uganda                                                                                                          X

 Ukraine                                          X                                                              X           X

 United Arab Emirates                                                                                            X           X

 United Kingdom                                   X           X#                            X                    X           X

 United States                                    X           X#                            X                    X           X

 Uruguay                                                                                                         X           X

 U.S. Virgin Islands                                                                        X                    X

 Uzbekistan                                                                                 X                    X

 Vanuatu                                                                                                         X

 Vatican City                                                                                                    X

 Venezuela                                                                                  X                    X           X

 Vietnam                                                                                    X         X          X           X

 Western Samoa                                                                                                   X

 Zambia                                                                                                          X

 Zimbabwe                                                                                                        X


This table applies to Cisco Webex Meetings PSTN Audio service available on the Cisco Collaboration Flex Plan
sold through the A-FLEX Annuity billing platform, with availability in August 2019.


Pricing inquiries
Please contact your Cisco reseller or Cisco account team representative for pricing.




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